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                      UNITED STATES GOVERNMENT
                      NATIONAL LABOR RELATIONS BOARD
                      OFFICE OF THE GENERAL COUNSEL
                      Washington, D.C. 20003

                                                      July 14, 2023

 BY CM/ECF                                                                      SO ORDERED.
 Hon. Leda Dunn Wettre
 United States Magistrate Judge                                         s/ Leda Dunn Wettre, U.S.M.J.
 United States District Court for the District of New Jersey
                                                                                August 15, 2023
                                                                        Dated: ___________________
 50 Walnut Street
 Newark, NJ 07101


                        Re:    In re 710 Long Ridge Road Operating Co., LLC, et al.,
                               Consolidated Case No. 2:14-cv-01725-CCC

 Dear Judge Wettre:

          Pursuant to this Court’s oral direction to the parties June 30, 2023, the NLRB files this
 joint letter containing the parties’ proposed schedule for resolving Appellees’ pending motion to
 dismiss the appeals as equitably moot. [ECF No. 19] As a reminder, this Court’s prior scheduling
 orders (most recently [ECF No. 186]) provide for the filing of a declaration from the NLRB
 (sometimes referred to as the “NLRB Supplemental Declaration”) and attached documentary
 evidence produced during discovery to complete the record on the equitable-mootness issue.
 Once the record is complete, the parties will then file supplemental briefs and replies on the legal
 and factual issues presented by Appellees’ motion.

        Taking into account current availability and workloads of counsel, the parties propose as
 follows:

        August 25: Filing of NLRB Supplemental Declaration

        October 6: Filing of supplemental briefs

        October 20: Filing of supplemental reply briefs
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                                                Respectfully,

 /s/ Ryan Jareck                                /s/ Paul A. Thomas
 Ryan Jareck                                    Paul A. Thomas

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